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Case 3:12-cr-05039-RBL Document 183 Filed 03/01/13 Page 1 of 1

HONORABLE RONALD B. LEIGHTON

UNITED STATES DISTRIC'I` COURT
WESTERN DIS'I`RICT OF WASHINGTON

AT TACOMA
UNI"I'ED STATES OF AMERICA, CASE NO. CR12-5039RBL
Plaintiff, VERDICT FORM
v. COUNT 5
FELON IN POSSESSION
KENNETH WAYNE LEAMING,
Defendant.

 

 

 

l. We, the Jury, find the defendant Kenneth Wayne Leaming NOT GUILTY or

GUILTY of Felon in Possession of a Firearm, as charged in Count Five of the

lndictment.
NOT GU!LTY GUILTY L
Foreperson sign and date the completed verdict form.
. ~'t~
DATED this €“ day of °W\W.k ,2013.
ioreperson

VERDICT FOR_M - l

 

